Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                           CASE N O.:19-20544-ClV-M ARTlNEZ/A OR

   LA RRY K LA YM AN ,

        Pro sePlaintiff,



   TJIOMAS J.FITTON,
        D efendant.


                             REPORT AND RECOM M ENDATION

        THIS CAUSE cnmebeforetheCourtuponDefendantThomasFitton's(GsDefendant''or
  GTitton''lM otion to DismissforLack ofPersonalJurisdiction (ûsMbtion to Dismiss'')(D.E.6).
  Thismatterwasreferredtotheundersignedptlrsuantto28U.S.C.j636bytheHonorableJoseE.
  MaMinez,United StatesDistrictJudge ED.E.5).Forthereasonsstatedbelow,theundersigned
  rekpectfully recomm endsthattheM otiontoDismissbeGRAN TED.
                               PR O CED U R AL BA C K GR O UN D

        ln this action,Plaintiff Larry Klaylhan (çEplaintiff''or SçKlayman'') brings claims for
  defgm ation,defnm ation per se and defamation by implication againstFitton. See Complaintfor

  Defamation(ççcomplainf')(D.E.1j. AsthebasisfortheseclaimsagainstFitton,Klaymancitesa
  January 18,2019videopostedontheInternetbyRogerStone(1$Stone'')statingthatKlaymanCtwas
  ousted atJudicialW atch. Ask Tom Fitton why he left. He leftbecause ofa sexualharassm ent

  complaint.''Id.!! 15-16.
        lnsupportofhisM otiontoDismiss,Defendantfiled aDeclarationpursuantto28U.S.C.j
  174'
     6, w herein he denied having any contactsw ith Florida,exceptto conductbusiness on behalfof
Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 2 of 7




   JudicialW atch (whereheservesaspresident),and onepersonalvacationtripinthepast20years.
   SeeDeclaration UnderPenalty ofPerjury ofThomasJ.Fitton (çTitton Declaration'')ED.E.6-12.
   In hisOpposition to the M otion to Dism iss,Plaintiffargued thathe should beallowed to conduct

  jtlrisdictionaldiscoverytotesttheveracityoftheFitton Declaration.SeePlaintiffsOppositionto
   Defendant'sM otiontoDismissforLackofPersonalJurisdiction(Glopposition'')ED.E.8at244.
         On May21,2019,theundersignedheldahearingonDefendant'sM otiontoDismiss(D.E.
   232. At the hearing,the undersigned allowed Plaintiff to tlconduct a z-hour deposition of
   Defendant limited to personaljurisdiction discovery.'' See Order (D.E.24 at 1q. The
   undersigned also allow ed Plaintiffto supplementhis Opposition ten daysafterthe deposition

  wasconducted.J.Z
         The deposition took place on June 6,2019. See TranscriptofD eposition ofThom asJ.

  Fitton(sG-l-ranscript'')ED.E.32-11. Plaintiffthen filed aM otion toCompelDefendantThomas
  FittontoAnswerDepositionQuestionsPosedonJune6,2019(çlM otiontoCompel'')(D.E.324.
  The undersigned has denied the M otion to Compel. See Order Denying M otion to Com pel

   ED.E.481.
         On June 17,2019,Plaintifffiled a Supplem entto Plaintiff s Opposition to Defendant

  Fitton's M otion to Dismiss Pursuant to the Court's Order of M ay 21,2019 EDKT.//242
  (çtsupplemenf') (D.E.331. Plaintiffalso filed an Addendum and Second Addendum to his
  SùpplementED.E.34,35).AfterDefendantfiledhisReplytoPlaintiff'sSupplem ent,Plaintiff
  filed aççResponse,''which Defendantsoughtto strike ED.E.38,42,444. Theundersignedhas
  dçniedDefendant'sM otion toStrike.SeeOrderDenyingM otion toStrike (D.E.49j.
         ln his Supplem ent,Plaintiffarguesthat:

         Phone records,em ailrecords and creditcard m aterials should be produced in
         orderto discern how often DefendantFitton com m unicated with Roger Stone
Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 3 of 7




         (&(Stone'')and whetherhe purchased airline tickets to and from Florida for
         personal speeches or other personal m atters, including but not lim ited to his
         CouncilforNationalPolicy ($1CNP'')personalmembership.
  See Supplement (D.E.33 at 21. However,nothing in Defendant's deposition supports
  Plaintiff'srequestforsuch broad forensic discovery. Therefore,the M otion to D ism issisripe

  foradjudication.
                                       A PPL ICA BLE LA W

         UnderRule12(b)(2)oftheFederalRulesofCivilProcedtlre(hereafter,tslkule12(b)(2)''),
  apartymaymovetodismissacomplaintforlackofpersonaljurisdiction.Fed.R.Civ.P.12(b)(2).
  Initially,theplaintiffseeking theexerciseofpersonaljurisdiction overanon-residentdefendant
  bearstheburdenofallegingsufficientfactstomakeoutaprimafaciecaseofjurisdiction.United
  Techs.Corp.v.M azer,556F.3d 1260,1274(11thCir.2009).Ifthedefendantproducesaffidavits
  or other evidence thatcontradictsthe plaintiffs prim a facie case,the burden shifts back to the

  plaintiffto produceevidencesuppolingjurisdiction.ld. To determinewhetherithaspersonal
  jurisdiction,acoul'tmustconsider'
                                  .E1(1)whetherpersonaljurisdictionexistsoverthenonresident
  defendantsunderFlorida'slong-nrm statm e,and (2)ifso,whetherthe exercise ofjurisdiction
  would violate the Due Process Clause ofthe Fourteenth Am endm entto the U .S.Constitution.''

  Pru:nty v.Arnold & Itkin LLP,753 F.App'x 7'31,734 (11th Cir.2018)(citing LouisVuitton
  M alletiersS.A.v.Mosseri,736F.3d 1339,1350(11thCir.2013:.
         Florida'slong-arm statuteprovides,in pertinentpart:

         (l)(a)A person,whetherornotacitizenorresidentofthisstate,whopersonallyor
         tllrough an agentdoesany ofthe actsentlm erated in thissubsection thereby subm its
         him self or herself and, if he or she is a nattlral person, his or her personal
         representativeto thejurisdictionofthecoul4softhisstateforanycauseofaction
         arising from any ofthe following acts;
                                                  *++
         2.Com m itting a tol-tiousactw ithin thisstate.


                                                   3
Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 4 of 7




              6.Causing injul-ytopersonsorproperty within thisstatearising outofan actor
              omissionbythedefendantoutsidethisstate,itlatoraboutthetimeoftheinjtuy...:
              a.Thedefendantwasengaged in solicitation orserviceactivitieswithin thisstate.
  '

      !
  Fla.Stat.j48.193.1
      !
      1       Es-l-heDueProcessClauseprotectsanindividual'slibertyinterestinnotbeingsubjecttothe
  bindingjudgmentsofa fonlm with wllich hehasestablished no meaningfultcontacts,ties,or
      k
      !                      .

  rçlations.''' BtlrgerKing Cop .v.Rudzewicz,471U.S.462,471(1985)(quoting Im ernational
  ShoeCo.v.W ashington,326U.S.310,319(1945)).Thus,dueprocessrequiresthatthedefendant
  have çGm inim um contacts''w ith the fonzm state,and that the m aintenance of the suit notoffend
      7
      1
  G%traditionalnotionsoffairplay and substantialjustice.'' HelicopterosNacionalesdeColombias
  S.A.v.Hall,466U.S.408,414(1984);Int'lShoeCo.,326U.S.at316.
      ;
                                      JURISDICTIONAL FACTS

              lnhisDeclaration,Defendantaversthefollowingjurisdictionalfacts:
                 >' Defendanthasbeen aresidentofW ashington,D.C.since 1989.

                 >' Defendantis the President and a Director of JudicialW atch,Inc.,a non-profit
                    organization formed tmderthelawsoftheDistrictofColum bia.

                 > Defendanthasno recollection ofeverhaving any com mtmication with Stone;and
                   denies evercom m unicating w ith Stone regarding the circum stances orreasons for
                   Plaintiffsseparation from JudicialW atch.

                 >' Defendantdoesnottravelto Florida exceptoccasionally to conductbusiness on
                    behalfofJudicialW atch.

                 > JudicialW atch hastwo employeesand a sm allofficein theStateofFlorida,which
                    Defendantsuperdsesin hiscapacity asPresidentofJudicialW atch.
          l
                 >' ln the pasttw enty years,D efendanttook one trip to Florida fora personalvacation.
          1
          j              '
  SeeFittonDeclaration ED.E.6-1q.
          I
          1
          1
  1ThesearetheonlyFloridalong-ann statuteprovisionsuponwhichPlaintiffrelies.SeeOpposition(D.E.
  8 at 11-l2.                                                                          '
                                                    4
Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 5 of 7




         Plaintiff appended to hisOpposition the Declaration ofLan'y Klayman (çsKlayman
  Declaration'') (D.E.8-1j. Therein,PlaintiffaversthatStone lives in Florida and thàtStone
  published theallegedly defam atory statem entupon which thisaction isbased çsatthedirection

  ofDefendantFitton.'' 1d.at3-4. Plaintifffurtheraversthatçr efendantFitton published this

  fglse statem entto Stone,located in Florida atthe tim e,and the false statem entw as aim ed at

   (PlaintifflaFloridacitizen.''Id.at4.
         During thecourseofthedeposition thatwaslim itedto personaljurisdiction discovery,
  Defendant w as asked about certain visits to Florida and testified that those visits were

  undertaken in hiscapacity asPresidentofJudicialW atch. SeeTranscript(D.E.32-1at6-111.
  D efendant also testified that he does not know Stone and has never talked to him or
   ,




  com m unicated w ith him . Id.at12.

                                            D ISCU SSIO N

         1. Florida 's long-arm statute

         Plaintiff argues that Defendant is subject to personaljurisdiction in Florida for the
  defam ation claim s asserted in this action on the groundsthatDefendantcomm itted the tortof

  defamationinthisState.SeeFla.Stat.j48.193(1)(a)2.lnessence,PlaintiffimputestoDefendant
  the alleged defnm atory statem ent m ade by Stone. In contrast to Plaintiff's unsubstantiated

  avennents in the Klaym an Declaration that atlempt to establish such a link, Defendant

  affrmatively testified athisdeposition thathe doesnotknow Stone and hasnevertalked to him

  orcommunicated with him . Therefore,the assertion ofspecific personaljurisdiction over
  DefendantisnotproperpursuanttoF1a.Stat.j48.19341)(/)2.2
         PlaintiffalsocitedinhisOppositionthegeneralpersonaljtuisdictionprovisionofFlorida's

  2 Plaintiff'sstrained attemptsin hisOpposition and Supplem entto im pugn Defendant'sstatem entsunder
  oath athisdeposition do notchangethisresult.
                                                   5
Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 6 of 7




   long-arm statutecited above.Thisprovision permitstheexerciseofpersonaljurisdiction overa
   defendantwhocausedinjurytopersonswithinthestateif,atthetimeoftheinjury,thedefendant
  wasengagedinsolicitationorserviceactivitieswithinthisstate.SeeFla.Stat.j48.193(1)(a)6.a.
  Athisdeposition,Defendanttestified thatthevisitsto Floridaaboutwhich hewasasked were
  undertaken in his capacity asPresidentofJudicialW atch.3 UnderFlorida law , the tscorporate

  shield''orçfduciary shield''doctrineprecludeslGforcging)an individualto defendasuitbrought
  againsthim personally in afol'um with which hisonly relevantcontactsareactsperformed notfor

  his own benefitbutforthe benetitofhis employer.'' Doe v.Thom pson,620 So.2d 1004,1006

  (F1a.1993). Defendantf'urthertestified thathis sole visitto Florida in his personalcapacity
  occurred tw enty years ago.4 Therefore, the assertion of generalpersonaljurisdiction over
    l
  DefendantisnotproperpursuanttoFla.Stat.j48.193(1)(a)6.a.
         2. M inim um contacts

         As discussed above, Defendant's contacts with Florida have been limited to those

  undertaken in hiscapacity asPresidentofJudicialW atch and a single personaltrip twenty years

  agp. Therefore,the Clm inim um contacts''requirem enthasnotbeen m etand the m aintenance of

  thissuitagainstDefendantwould offendlçtraditionalnotionsoffairplay and substantialjustice.''
  Helicopteros,466U .S.at414;lnt'lShoeCo.,326 U.S.at316.




  3 Defendant'sdeposition testim ony wasconsistentw iththe Fitton Declaration,in which he averred thathe
  doesnottravelto Floridaexceptoccasionally to conductbusinesson behalfofJudicialW atch. SeeFitton
  Declaration ED.E.6-12.
  4 Thistestimony wasalsoconsistentwiththeFittonDeclaration (D.E.6-1q.
Case 1:19-cv-20544-JEM Document 50 Entered on FLSD Docket 07/11/2019 Page 7 of 7




                                    RECOM M END ATION

         Based on the foregoing considerations, the undersigned RESPECTFULLY
   i
   RECOM M EN DS thatDefendant's M otion to Dism issbe GRAN TED and the Com plaintbe
   l

   bISM ISSED forlackofpersonaljurisdiction.
         PuzsuanttoLocalM agistrateJudgeRule4(b),thepartieshavefourteen daysfrom thedate
   ofthisReportand Recommendationto filewrittenobjections,ifany,withtheHonorableJoseE.
   Martinez.Faillzretotimelyfileobjectionsshallbarthepartiesfrom attackingonappealthefacttzal
   Gndings contained herein. See Resolution Tr.Corp.v.Hallm ark BuilderssInc.,996 F.2d 1144,

   1149(11thCir.1993).Further,Slfailuretoobjectinaccordancewiththeprovisionsofg28U.S.C.I
   j636(b)(1)waivestherighttochallengeonappealthedistrictcourt'sorderbasedonunobjected-
  '
  tö
   (factualandleg    alconclusions.''See11th Cir.R.3-1(
                '''-''
                                                       I.O.P.-3).
                                                      ''!
   !

         RESPECTFULLY SUBMITTED inMinmi,Floridathis // dayofJuly,2019.



                                                        W     ''
                                                    A LICIA M .O TA ZO-REYES
                                                    UN ITED STA TES M A GISTR ATE JUD GE

         United StatesD istrictJudge Jose E.M artinez
         Cotm selofRecord
